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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,
                                                                  Case No.: 19-cv-04407
          Plaintiffs,
                                                                  Judge Charles P. Kocoras
 v.
                                                                  Magistrate Judge M. David Weisman
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 103                                    epathdeals2012
                 104                                       epathstore
                 175                                    EPATHDEALS
                 134                                      nvrendexue
                  35                                        Lobito
                 207                                        Cicitop
                 223                                      Goodjobjob
                  84                                      big_deal31
                 144                                    scully-shopping
                  72                                    2017winter2017
                 185                    shanghaigaishilandeshiyefazhanyouxiangongsi
                 129                                      mkstudio-us
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            159                              us-weiwei-yc111
            249                                 Misi Chao
            289                           yeluo medical insurance



DATED: August 24, 2019                      Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
